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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 16-20387—CV-ALTONAGA
            (Underlying Criminal Case No.: 13-20334-CR-ALTONAGA)


  JOSEPH PETER CLARKE,

         Movant,

  vs.

  UNITED STATES OF AMERICA,

         Respondant.
                                        /

  REPLY IN SUPPORT OF MOTION TO VACATE, CORRECT, OR SET ASIDE
              SENTENCE PURSUANT TO 28 U.S.C. § 2255

         Joseph Clarke, through undersigned counsel, files this reply in support of his

  motion to vacate, correct, or set aside his sentence, pursuant to 28 U.S.C. § 2255.

  As explained below, and contrary to the government’s arguments, Mr. Clarke is

  actually innocent of the 18 U.S.C. § 924(c) offense, he does not qualify for the

  enhancement under § 3559(a), and his attorney was ineffective for not making

  certain viable arguments that Mr. Clarke did not qualify for the § 3559

  enhancement. Accordingly, he is entitled to relief.

    I.   Mr. Clarke is actually innocent of his conviction under 18 U.S.C.
         § 924(c).

         Contrary to the government’s argument, Johnson invalidated the residual

  clause of § 924(c) and Mr. Clarke’s conviction of conspiracy to commit Hobbs Act

  robbery no longer qualifies as a predicate crime of violence.



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         A.   Johnson invalidated § 924(c)’s residual clause.

         To reiterate, Johnson held the residual clause in 18 U.S.C. § 924(e)(2)(B)(ii)

  (“otherwise involves conduct that presents a serious risk of physical injury to

  another”) to be unconstitutionally vague because the “indeterminacy of the wide-

  ranging inquiry required by the residual clause both denies fair notice to defendants

  and invites arbitrary enforcement by Judges.” 135 S. Ct. at 2557. In the Supreme

  Court’s view, the process espoused by James v. United States, 550 U.S. 192 (2007),

  of determining what is embodied in the “ordinary case” of an offense, and then of

  quantifying the “risk” posed by that ordinary case, was constitutionally problematic:

  “[t]he residual clause offers no reliable way to choose between . . . competing

  accounts of what ‘ordinary’ . . . involves.” Id. at 2558.

         The government argues that the residual clause in § 924(c) is distinguishable

  from the residual clause invalidated in Johnson. While these two clauses are not

  identical word for word, there is no material distinction between them. The

  government’s arguments to the contrary are unpersuasive, as explained below.

               i.   Section 924(c)’s residual clause is not “markedly narrower”
                    than the ACCA residual clause at issue in Johnson.

         First, contrary to the government’s suggestion, the minor textual differences 1

  between the residual clause of the ACCA at issue in Johnson and the residual

  clause of § 924(c) (and § 16(b) and § 3559(c)) have no impact on the constitutional

  1 In pertinent part, the ACCA residual clause defines a “violent felony” as an offense that
  “otherwise involves conduct that presents a serious potential risk of physical injury to
  another.” 18 U.S.C. § 924(e)(2)(B)(ii). Section 924(c)(3)(B) defines a crime of violence as one
  that “by its nature, involves a substantial risk that physical force against the person or
  property of another may be used in the course of committing the offense.”


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  analysis. In the Eleventh Circuit, and in other circuits as well, they have always

  been regarded as analogous and analyzed identically. See United States v. Keelan,

  786 F.3d 865, 871 n.7 (11th Cir. 2015) (describing the ACCA residual clause and the

  residual clause of § 16(b) as “analogous”); United States v. Vivas-Ceja, 808 F.3d 719,

  722 (7th Cir. 2015) (“§ 16(b) substitutes ‘substantial risk’ for the residual clause’s

  ‘serious potential risk.’ Any difference between the two phrases is superficial. Just

  like the residual clause [in § 924(c)], § 16(b) offers courts no guidance to determine

  when the risk involved in the ordinary case of a crime qualifies as ‘substantial.’”);

  Jimenez-Gonzales v. Mukasey, 548 F.3d 557, 562 (7th Cir. 2008) (noting that,

  “[d]espite the slightly different definitions,” the Supreme Court’s respective

  analyses of the ACCA and § 16(b) “perfectly mirrored” each other); see also United

  States v. Gomez-Leon, 545 F.3d 777 (9th Cir. 2008); United States v. Coronado-

  Cervantes, 154 F.3d 1242, 1244 (10th Cir. 1998); United States v. Kirk, 111 F.3d

  390, 394 (5th Cir. 1997); United States v. Bauer, 990 F.2d 373, 374 (8th Cir. 1993)

  (describing the differences between the statutes as “immaterial” and holding that

  U.S.S.G. § 4B1.2, which uses the ACCA language, “is controlled by” a decision that

  interprets § 16(b)).

         Federal courts have historically and regularly analyzed and imported

  decisions from one residual clause to another due to their substantial similarities. 2


  2 Though the comparison tends to specifically address 18 U.S.C. § 16(b), that statute is
  identical to § 924(c)(3)(B). See, e.g., Chambers v. United States, 555 U.S. 122, 133, n.2
  (2009) (citing circuit splits on § 16(b) in the context of a residual clause case because § 16(b)
  “closely resembles ACCA’s residual clause”) (Alito, J., concurring). See also United States v.
  Ayala, 601 F.3d 256, 267 (4th Cir. 2010) (relying on an ACCA case to interpret the
  definition of a crime of violence under § 924(c)(3)(B)); United States v. Aragon, 983 F.2d

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  Although the risk at issue in the ACCA is a risk of injury, and the risk at issue in

  § 924(c) is a risk that force will be used against person or property, this difference is

  immaterial to the due process problem and has no impact on the applicability of

  Johnson to this case. This is because the Supreme Court’s holding in Johnson did

  not turn on the type of risk, but rather how a court assesses and quantifies the

  risk. 3

            The two-step process is the same under the ACCA and § 924(c) (and § 16(b)

  and § 3559(c)). All four statutes require courts first to picture the “ordinary case”

  embodied by a felony, and then decide if it qualifies as a crime of violence by

  assessing the quantum of risk posed by the “ordinary case.” 4


  1306, 1314 (4th Cir. 1993) (same); Roberts v. Holder, 745 F.3d 928, 930-31 (8th Cir. 2014)
  (using both ACCA cases and § 16(b) cases to define the same “ordinary case” analysis);
  United States v. Sanchez-Espinal, 762 F.3d 425, 432 (5th Cir. 2014) (despite the fact that
  the ACCA talks of risk of injury and § 16(b) talks of risk of force, “we have previously looked
  to the ACCA in deciding whether offenses are crimes of violence under § 16(b)”).

  3  Of course, many federal and state criminal laws include “risk” standards that employ
  adjectives similar to those in the ACCA and § 924(c), such as “substantial,” “grave,” and
  “unreasonable.” And the Supreme Court in Johnson said it did not mean to call most of
  these into question. But, as Justice Scalia’s majority opinion observed, that is because the
  vast majority of such statutes require gauging the riskiness of conduct in which an
  individual defendant engages on a particular occasion; in other words, applying such a
  standard to “real-world conduct.” By contrast, the ACCA’s residual clause, and § 924(c)(3)
  too, require it to be applied to “an idealized ordinary case of the crime,” an “abstract
  inquiry” that “offers significantly less predictability.” Johnson, 135 S. Ct. at 2558.

  4 The ACCA, § 924(c), § 16(b), and § 3559(c) require courts to discern what the ordinary
  case of a crime is by using the categorical approach. Courts may not consider the factual
  means of committing any given offense, but must consider the nature of the offense in the
  “ordinary case,” regardless of whether the ACCA, § 924(c)(3)(B), or § 16(b) is at issue. See
  Keelan, 786 F.3d at 871 (adopting “ordinary case” analysis for identical provision in § 16(b));
  see also United States v. Naughton, 621 F. App’x 170, 178 (4th Cir. Sept. 2, 2015) (applying
  the ordinary case inquiry to the residual clause of § 924(c)); Fuertes, 805 F.3d at 498; United
  States v. Ramos-Medina, 706 F.3d 932, 938 (9th Cir. 2012) (citing James as the source of
  the “ordinary case” analysis required by § 16(b)); United States v. Butler, 496 F. App’x 158,
  161 n.4 (3d Cir. 2012); Evans v. Zych, 644 F.3d 447, 453 (6th Cir. 2011); United States v.

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         Section 924(c)’s residual clause, like the ACCA residual clause, thus requires

  the “ordinary case” analysis to assess the risk involved in a predicate offense, and

  how risky that ordinary case is—the identical analytical steps that brought down

  the ACCA residual clause—and thus § 924(c)’s residual clause cannot survive

  constitutional scrutiny under the due process principles reaffirmed in Johnson. As

  a consequence, the residual clause cannot be used to support a conviction under

  § 924(c).

         The government incorrectly asserts the residual clause of § 924(c) is

  “markedly narrower” than the ACCA’s residual clause. It asserts that § 924(c)’s

  residual clause is temporally “narrower” than the ACCA’s residual clause because it

  looks to the risks “that arise during the commission of the offense.” Civ. DE 22:6.

  But this simply has no bearing on the threshold “ordinary case” inquiry that the

  Supreme Court determined is impossibly arbitrary, and that the Eleventh Circuit

  held in Keelan applies to the precise language at issue here. 5 More importantly,


  Serafin, 562 F.3d 1104, 1108 (10th Cir. 2009); Van Don Nguyen v. Holder, 571 F.3d 524, 530
  (6th Cir. 2009) (considering § 16(b) and concluding that “[t]he proper inquiry is one that
  contemplates the risk associated with the proscribed conduct in the mainstream of
  prosecutions brought under the statute.”); United States v. Green, 521 F.3d 929, 932 (8th
  Cir. 2008); United States v. Sanchez-Garcia, 501 F.3d 1208, 1213 (10th Cir. 2007); United
  States v. Acosta, 470 F.3d 132, 134 (2d Cir. 2006); United States v. Amparo, 68 F.3d 1222,
  1225 (9th Cir. 1995).

  5 That inquiry requires the Court to imagine the facts that typically make up the predicate
  crime. That inquiry involves asking whether, for example, “the ordinary instance of
  witness tampering involve[s] offering a witness a bribe? Or threatening a witness with
  violence?” Johnson, 135 S. Ct. at 2557. Or whether the “ordinary burglar invade[s] an
  occupied home by night or unoccupied by day?” Id. at 2558. Or “[d]oes the typical
  extortionist threaten his victim in person with the use of force, or does he threaten his
  victim by mail with the revelation of embarrassing personal information?” Id. Or whether
  the “ordinary case of vehicular flight” is “the person trying to escape from police by
  speeding or driving recklessly . . . [o]r is it instead the person driving normally who, for

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  focusing on the risk during the predicate offense, § 924(c)’s residual clause does not

  call for any narrower an inquiry than the ACCA’s residual clause. The Supreme

  Court’s determinations whether certain crimes were sufficiently risky under the

  ACCA also focused on risk during the commission of the offense, rather than some

  time later after it had ended. See, e.g., James, 550 U.S. at 203-04, 210 (looking to

  conduct that typically occurs “while the crime [attempted burglary] is in progress,”

  “while the break-in is occurring,” and “during attempted burglaries”); Sykes v.

  United States, 131 S. Ct. 2267, 2273-74 (2011) (same for crime of vehicular flight

  from police).

         Likewise, the supposedly “typical” conduct the Court found sufficiently risky

  in the ACCA cases involved conduct during the predicate crime, rather than at some

  later time. See, e.g., James, 550 U.S. at 211-12 (“An armed would-be burglary may

  be spotted by a police officer, a private security guard, or a participant in a

  neighborhood watch program. Or a homeowner . . . may give chase”); Sykes, 131 S.

  Ct. at 2274 (driver’s knowingly fleeing law enforcement officer held a violent felony

  given risk that, during pursuit, driver might cause accident or commit another

  crime to avoid capture). In no case did the Supreme Court actually rely on “post-


  whatever reason, fails to respond immediately to a police officer’s signal?” Sykes v. United
  States, 131 S. Ct. 2267, 2291 (2011) (Kagan and Ginsberg, JJ., dissenting). If a court
  cannot conjure the idealized “typical” scenario in which an offender embarks on the
  predicate crime, it cannot proceed to determine how the offense is likely to play out and,
  thus, cannot gauge the riskiness of the probable ensuing conduct—whether that conduct
  occurs during or after the commission of the crime. As the Ninth Circuit explained, “[t]his
  reasoning applies equally whether the inquiry considers the risk of violence posed by the
  commission and the aftereffects of a crime, or whether it is limited to consideration of the
  risk of violence posed by acts necessary to satisfy the elements of the offense.” Dimaya, 803
  F.3d at 1119.


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  offense conduct” to find a predicate crime sufficiently risky under the ACCA’s

  residual clause. And it expressed doubt about whether this would be a statutorily

  permissible basis to qualify an offense a “crime of violence.” See Chambers, 555

  U.S. at 129 (questioning, though assuming arguendo, “the relevance of violence that

  may occur long after” crime of failing to report for penal confinement is complete).

  Moreover, in assessing riskiness, § 924(c)(3)(B) and its twin, § 16(b)—just like the

  ACCA—looks not just at the initiation of the predicate crime (e.g., the burglar’s

  climbing through the window), but beyond that, through the entire “course” of the

  offense to its completion (e.g., while the burglar is in the house, until he successfully

  flees). See Leocal v. Ashcroft, 543 U.S. 1, 10 (2004) (“[B]urglary, by its nature,

  involves a substantial risk that the burglary will use force against a victim in

  completing the crime.”).

             ii.   The list of enumerated offenses preceding the ACCA
                   residual clause was not dispositive to Johnson.

        Contrary to what the Government argues, the Supreme Court’s decision in

  Johnson did not hinge on the list of enumerated offenses that precedes the ACCA’s

  residual clause. Although the Supreme Court noted that the enumerated offenses

  which precede the ACCA residual clause are an added problem, the Supreme

  Court’s decision in Johnson did not hinge on the list of enumerated offenses that

  precede the ACCA’s residual clause. Johnson, 135 S. Ct. at 2558. The Supreme

  Court said the residual clause was void for vagueness based on the “two features”

  turning on the ordinary case—not a third feature turning on the enumerated

  offenses. Id. at 2557; see also Vivas-Ceja, 808 F.3d at 722 (“The list [of enumerated


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  offenses] itself wasn’t one of the ‘two features’ that combined to make the clause

  unconstitutionally vague.”) (citing Johnson, 135 S. Ct. at 2557).

        Additionally, as a matter of pure logic, Johnson could not have turned on the

  enumerated offenses. The ordinary case problem exists with or without

  enumerated offenses because a lower court must determine the idealized ordinary

  case of the predicate offense before it can even begin to evaluate the type of risk

  presented by that offense. Id. at 2557-58. Because courts cannot answer the

  threshold question with any certainty, logic compels that the ordinary case analysis

  itself renders the residual clause unconstitutionally void. If a court cannot

  determine the ordinary case of the predicate offense, then a court cannot proceed

  with its risk analysis—enumerated offenses or not. The Johnson Court made clear

  that the “ordinary case” problem was really the central distinguishing and

  dispositive feature: “More importantly, almost all of the cited laws require gauging

  the riskiness of conduct in which an individual engages on a particular occasion. . . .

  The residual clause, however, requires application of the ‘serious potential risk’

  standard to an idealized ordinary case of the crime.” Johnson, 135 S. Ct. at 2561

  (emphasis added). For this very reason, Dimaya, 803 F.3d at 1117-18, Vivas-Ceja,

  808 F.3d at 722, and Edmundson, 153 F. Supp. 3d at 891, all flatly rejected the

  Government’s argument that Johnson turned on the enumerated offenses, and this

  Court should do the same.




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            iii.   The same confusion surrounds § 924(c)’s residual clause
                   (and § 16(b)’s § 3559(c)’s residual clauses) as surrounded the
                   ACCA’s, and, in any event, this was not a dispositive part of
                   the Johnson’s holding.

        To the extent the government argues that § 924(c)(3)(B), unlike the ACCA, is

  not shrouded in confusion, that is incorrect. The Government glosses over the fact

  that cases addressing § 924(c) and § 16(b) regularly rely on ACCA cases, and vice-

  versa. Confusion over the meaning of § 924(c)’s residual clause is subsumed in the

  confusion surrounding the ACCA because federal courts use the same body of

  precedent to interpret all three. Thus, confusion surrounding the ACCA reflects

  difficulties with § 924(c)(3)(B) and § 16(b), even without the same explicit chorus of

  criticism. Moreover, some circuits have split over how to apply § 16(b), which is

  additional evidence of the confusion surrounding the language of the residual clause

  of § 16(b) and its twin in § 924(c)’s residual clause. See e.g., Chambers, 555 U.S. at

  133 (Alito and Thomas, JJ., concurring) (citing some illustrative cases). There is no

  reasonable way to separate the level of confusion over the scope of these three

  residual clauses.

        In any event, as the Seventh Circuit explained in Vivas-Ceja, “[t]hat the

  [ACCA] residual clause had persistently eluded stable construction, was additional

  evidence that served to ‘confirm its hopeless indeterminancy.’ Johnson, 135 S. Ct.

  at 2558. The chaotic state of the caselaw was not a necessary condition to the

  Court’s vagueness determination.” 808 F.3d at 722 (citation and internal quotation

  marks omitted) (emphasis added). Lastly, it is not a necessary condition to strike

  down the § 924(c) residual clause. See also Dimaya, 803 F.3d at 1119 (“That the


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   Supreme Court has decided more residual clause cases than § 16(b) cases, however,

   does not indicate that it believes the latter clause to be any more capable of

   consistent application.”).

         B.    Conspiracy to commit Hobbs Act robbery no longer qualifies a
               crime of violence under § 924(c).

         The government contends that conspiracy to commit Hobbs Act robbery

   continues to qualify as a crime of violence because Johnson did not invalidate the

   residual clause of § 924(c). However, for the above reasons, the residual clause is

   invalid and cannot be used to establish a predicate offense under § 924(c). Notably,

   the government does not argue in its response filed May 1, 2017, that it qualifies

   under the element’s clause of § 924(c). Additionally, the government fails to

   recognize that it conceded in Mr. Clarke’s co-defendant’s case that Hobbs Act

   conspiracy cannot serve as a predicate offense for a § 924(c) conviction. See United

   States v. Bobby Jenkins, 13-20334-CR-ALTONAGA, DE 185 (November 9, 2016).

   The same concession should apply to Mr. Clarke.

         In sum, none of the textual distinctions identified by the Government

   establish a material difference between the unconstitutional residual clause in the

   ACCA and the unconstitutional residual clauses in § 16(b) and § 924(c). Indeed, at

   no point does the government address the Solicitor General’s concession that the

   identical residual clause in § 16(b) was “equally susceptible to . . . the central

   objection” in Johnson—namely, that they both “require[d] a court to identify the

   ordinary case of the commission of the offense and to make a commonsense




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   judgment about the risk of confrontations and other violent encounters.” Johnson,

   U.S. Supp. Br., 2015 WL 1284964, at 22-23. That omission is telling.

         C.   Procedural default does not bar relief.

         In its response, the government correctly acknowledges that procedural

   default is excused where a defendant is actually innocent of the offense. See

   Bousley v. United States, 523 U.S. 614, 623 (1998) (recognizing actual innocence

   exception to procedural default in § 924(c) context where petitioner “demonstrate[s]

   that in light of all the evidence, it is more likely than not that no reasonable juror

   would have convicted him”) (citation omitted).

         Here, Mr. Clarke is actually innocent of the § 924(c) offense because his

   predicate offense is not a crime of violence. Because the predicate offense is not a

   crime of violence, it is impossible for the government to prove one of the required

   elements of the § 924(c) offense. See, e.g., United States v. Adams, 814 F.3d 178,

   183 (4th Cir. 2016) (defendant successfully “show[ed] ‘factual innocence’ as

   contemplated by Bousley because he has shown that it is impossible for the

   government to prove one of the required elements of a § 922(g)(1) charge—that the

   defendant was a convicted felon at the time of the offense,” because the underlying

   conviction was legally not a felony). Thus, the government’s assertion of procedural

   default rises and falls with the merits of the argument that the predicate offense is

   not a crime of violence.




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         As demonstrated above in subsection (B), Mr. Clarke has shown that it is not,

   and he is therefore actually innocent of the § 924(c) offense. Accordingly, procedural

   default poses no bar to relief here.

         In addition, any procedural default in this case is also excused by cause and

   prejudice. Mr. Clarke can show cause because he was sentenced after the United

   States Supreme Court had squarely rejected a vagueness challenge to the ACCA’s

   residual clause—not once but twice. Sykes v. United States, 564 U.S. 1, 15 (2011);

   James v. United States, 550 U.S. 192, 210 n.6 (2007).

         The Supreme Court expressly overruled that precedent in Johnson, 135 S. Ct.

   at 2563, and gave it retroactive application in Welch v. United States, 136 S. Ct.

   1257 (2016). The Supreme Court has recognized that cause exists under precisely

   these circumstances—namely, where it “articulate[s] a constitutional principle that

   had not been previously recognized,” that “explicitly overrule[d] one of [its]

   precedents,” and “is held to have retroactive application.” Reed v. Ross, 468 U.S. 1,

   17 (1984). Under those rare circumstances, which exist here, the Court explained

   that “there will almost certainly [be] no reasonable basis upon which an attorney

   previously could have urged a . . . court to adopt the position that this Court has

   ultimately adopted.” Id.

         The government asserts that “perceived futility” does not constitute cause,

   citing Bousley v. United States, 523 U.S. 614, 623 (1998). But neither Bousley nor

   Engle v. Isaac, 456 U.S. 107, 130 n.5 (1982), upon which it relied, addressed the

   situation here. Indeed, those cases were addressing futility in the face of adverse



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   precedent by a “particular” state or lower federal court, and they were motivated

   principally by a concern to afford state courts an initial opportunity to reconsider its

   precedent. See Smith v. Murray, 477 U.S. 527, 535 (1986). No such federalism

   considerations exist here. And in light of the binding U.S. Supreme Court

   precedent, a vagueness challenge would have been frivolous not just in one

   “particular” court, but rather in every court in the entire country. In that sense, the

   futility here was not “perceived;” it was real and absolute. To the extent the

   government is arguing that futility can never establish cause, even in the face of

   adverse High Court precedent directly on point, that argument is contrary to both

   Reed and notions of fundamental fairness.

          Finally, the government is incorrect that Mr. Clarke cannot establish

   prejudice. As demonstrated above, he is actually innocent of his § 924(c) offense. As

   a result, the prejudice is manifest. Consequently, conspiracy to commit Hobbs Act

   robbery is not a crime of violence, and Mr. Clarke’s conviction must be vacated.

    II.   Mr. Clarke no longer qualifies for the § 3559(c) enhancement.

          Contrary to the government’s arguments, the residual clause in § 3559(c) is

   unconstitutionally vague after Johnson. Accordingly, this Court cannot rely on it to

   classify the predicate offenses in this case as “serious violent felonies.”

          A. Johnson invalidates the residual clause of § 3559(c).

          The government argues that Johnson did not invalidate the residual clause of

   § 3559(c) for the same reasons it did not invalidate § 924(c)’s residual clause: that

   § 3559(c) is “materially narrower” than the residual clause of the ACCA, that



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   § 3559(c) does not contain the list of enumerated offenses, and that § 3559(c) does

   not suffer from the same confusion as the ACCA’s residual clause. See DE 22:11-14.

          The residual clause in § 3559(c) is nearly identical to that in 18 U.S.C.

   § 924(c) and 18 U.S.C. § 16(b). The only difference is that § 3559(c) does not cover

   physical force against the property of another. 6 Because the residual clause of

   § 3559(c) is nearly identical to that of § 924(c), the government’s arguments fail for

   the same reasons they fail as applied to § 924(c) as stated above in Point I(A).

   Furthermore, despite arguing that § 3559(c)’s residual clause does not suffer from

   the same confusion as that of the ACCA, the government concedes that the same

   categorical “ordinary case” inquiry that led the Supreme Court to conclude that the

   ACCA residual clause is unconstitutionally vague applies to § 3559(c). See DE

   22:11. In that vein, the Eleventh Circuit has relied on cases analyzing serious

   violent felonies under § 3559(c) in its analysis of violent felonies under the ACCA.

   See e.g., United States v. Proch, 637 F.3d 1262 (11th Cir. 2011) (relying on case

   analyzing whether an escape conviction qualified as a serious violent felony under

   § 3559(c) in its analysis of whether it qualified as a violent felony under the ACCA).

          Consequently, like the residual clause of the ACCA and § 924(c), the residual

   clause of § 3559(c) is void for vagueness after Johnson.




   6 Compare § 3559(c)(2)(F)(ii) (offense that “by its nature, involves a substantial risk that

   physical force against the person of another may be used in the course of committing the
   offense”) with § 924(c)(3)(B) (offense “that by its nature, involves a substantial risk that
   physical force against the person or property of another may be used in the course of
   committing the offense”) and § 16(b) (offense “that, by its nature, involves a substantial risk
   that physical force against the person or property of another may be used on the course of
   committing the offense”).

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         B. Without the residual clause, Mr. Clarke’s current and prior
            convictions no longer qualify as “serious violent felonies” under
            § 3559(c).

         The government concedes that Mr. Clarke’s conviction for fleeing and eluding

   does not qualify as a serious violent felony. Civ. DE 22:14. Furthermore, the

   government did not argue in its response that Mr. Clarke’s robbery conviction

   continues to qualify as a serious violent felony. The government only contends that

   Mr. Clarke’s conviction for burglary of an unoccupied structure and his current

   conviction of conspiracy to commit Hobbs Act robbery still qualify as serious violent

   felonies. It should be noted that the government misstates Mr. Clarke’s prior

   conviction as one for “armed burglary.” Mr. Clarke was not convicted of armed

   burglary, but merely burglary of an unoccupied structure. That is confirmed in both

   the PSI (¶ 36) and the Notice of Intent to Seek Enhanced Penalties Under 18 U.S.C.

   § 3559(c) filed by the government on August 2, 2013. See Crim. DE 28.

         In its response, the government seems to concede that those convictions do

   not qualify as serious violent felonies under the elements clause of § 3559(c), and

   instead only argues that they continue to qualify under the residual clause.

   However, for the reasons stated above, the residual clause is invalid and cannot be

   used to support an enhancement under § 3559(c).

         Additionally, the government erroneously argues that the Court should look

   at the underlying facts of Mr. Clarke’s convictions in determining whether they

   constitute serious violent felonies. However, the Court cannot look to the

   underlying facts in making that determination. Instead, it must use the categorical



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   approach, looking only to the elements of the crimes of conviction. Descamps v.

   United States, 133 S. Ct. 2276, 2283 (2013).

         Regardless of whether burglary of a structure qualifies under the elements

   clause, contrary to the government’s argument, burglary of an unoccupied structure

   does not qualify as a serious violent felony because it has a maximum sentence of

   only five years. The government argues that the conviction should qualify because

   Mr. Clarke was sentenced as a habitual felony offender, making the maximum

   sentence for Mr. Clarke ten years. However, the government cites no authority to

   support its claim that the Court should look beyond the language of a statute itself

   and apply it to a particular defendant. Under the plain language of § 3559(c), this

   Court should look at the maximum sentence of the “offense” per se, and not as

   applied to Mr. Clarke. When doing so, burglary of a structure has a maximum

   sentence of five years and thus does not qualify as a serious violent felony.

         Finally, as stated above, the government has conceded that conspiracy to

   commit Hobbs Act robbery no longer qualifies as predicate offense under § 924(c) in

   Mr. Clarke’s co-defendant’s case. Given that the analysis as to what constitutes a

   crime of violence under § 924(c) and what constitutes a serious violent felony under

   § 3559(c) is the same, logic dictates that that concession should apply to the § 3559

   enhancement as well. The government in this case gives no reason why the

   analysis would be different under § 3559(c).

         For these reasons, as well as the reasons stated in the supplemental

   memorandum of law, Mr. Clarke’s conviction of conspiracy to commit Hobbs Act



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   robbery, and his prior convictions of armed robbery, burglary of an unoccupied

   structure, and fleeing and eluding do not qualify as “serious violent felonies.” Thus,

   Mr. Clarke cannot be enhanced under § 3559(c).

      III. Mr. Clarke was denied effective assistance of counsel when his trial
           counsel failed to make viable arguments that his prior convictions
           did not qualify as § 3559(c) predicates.

         The government did not analyze Mr. Clarke’s claim that his counsel was

   ineffective for 1) failing to argue that burglary of an unoccupied structure did not

   qualify as a § 3559(c) predicate because it has a maximum penalty of five years, 2)

   failing to argue that burglary of a structure does not qualify as a serious violent

   felony under the residual clause, and 3) failing to present an affirmative defense

   that Mr. Clarke’s convictions for burglary and fleeing and eluding were

   nonqualifying felonies under § 3559(c)(3)(A). It merely states in its conclusion that

   Mr. Clarke’s claims “fail under the Strickland test.” Civ. DE 22:15. In fact, Mr.

   Clarke’s trial counsel was ineffective for those reasons.

         If Mr. Clarke’s attorney had argued an affirmative defense, he would have

   been able to show by clear and convincing evidence that both the burglary and the

   fleeing and eluding were nonqualifying offenses. First, he would have shown that

   during the commission of the burglary, neither Mr. Clarke nor his co-defendant

   used a firearm or a dangerous weapon. He would have been able to show that they

   entered the store by prying open the back door, that neither of them possessed a

   dangerous weapon or firearm, that no one was present in the store when they

   entered, and that they did not use a dangerous weapon or firearm once inside the



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   store. The government did not articulate any legal or factual argument to the

   contrary. It simply stated that Mr. Clarke “could not have satisfied the affirmative

   defense requirements of 3559(c) given that he used a tool to pry into victimized

   Circuit City store.” Civ. DE 22:9. However, the government cited nothing to

   support its statement that Mr. Clarke used a tool to pry into the store.

   Furthermore, the government gives no description of the alleged tool that would

   qualify as a dangerous weapon. Instead, the description of the crime in the PSI

   supports what Mr. Clarke’s trial counsel could have shown at sentencing: that there

   was no firearm or dangerous weapon used in the commission of the crime. The PSI

   states that “the defendant and his co-defendant unlawfully entered Circuit City

   store and removed property from the business valued at $40,000. The defendants

   pried open the rear emergency door in order to gain access into the business.” PSI

   ¶ 36. Accordingly, had Mr. Clarke’s trial counsel argued an affirmative defense that

   burglary did not qualify as a predicate offense, he would have been able to show by

   clear and convincing evidence that it was a nonqualifying offense.

         Similarly, Mr. Clarke’s trial counsel could have shown that Mr. Clarke’s

   conviction for fleeing and eluding was a nonqualifying offense. According to the

   PSI, officers were dispatched to an area regarding a domestic dispute. When they

   arrived, they observed Mr. Clarke leaving in the alleged victim’s car. The officers

   followed Mr. Clarke and conducted a traffic stop of the car. Mr. Clarke stopped the

   car, and the officers arrested him. Mr. Clarke’s trial counsel would have been able

   to show by clear and convincing evidence those were the facts underlying the fleeing



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   and eluding conviction. With that, trial counsel would have been able to show that

   the offense did not involve a firearm or a dangerous weapon and that no one was

   injured. As a result, this prior conviction would not qualify as a predicate offense,

   and Mr. Clarke would not qualify for the § 3559(c) enhancement.

         Mr. Clarke’s trial counsel was also ineffective for failing to argue that Mr.

   Clarke’s burglary conviction had a maximum sentence of five years and thus could

   not qualify as a serious violent felony, and that burglary of a structure was not a

   serious violent felony under the residual clause. Notably, the government did not

   address whether these actions constitute ineffective assistance of counsel.

         Mr. Clarke’s trial counsel’s performance fall below an objective standard of

   reasonableness, and Mr. Clarke was prejudiced as a result. Thus, under Strickland,

   Mr. Clarke did not receive effective assistance of counsel and his sentence should be

   vacated.

    IV. Mr. Clarke’s entire sentence should be vacated under the sentencing
        package doctrine.

         Contrary to the government’s claim, if this Court grants any of Mr. Clarke’s

   claims, it must vacate his entire sentence under the sentencing package doctrine as

   outlined in the supplemental memorandum of law. Civ. DE 20:29-30.




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                                    CONCLUSION

         For the above reasons, this Court should vacate Mr. Clarke’s sentence.



                                  Respectfully submitted,

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                             CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on May 8, 2017, I electronically filed the foregoing
   document with the Clerk of the Court using CM/ECF. I also certify that the
   foregoing document is being served this day on all counsel of record or pro se parties
   identified on the attached Service List in the manner specified, either via
   transmission of Notices of Electronic Filing generated by CM/ECF or in some other
   authorized manner for those counsel or parties who are not authorized to receive
   electronically Notices of Electronic Filing.

                                   /s/Julie Holt
                                   Julie Holt




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